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                IN THE UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION


EAGLES LANDING DAYCARE &         )
LEARNING CENTER,                 )                    CIVIL ACTION
                                 )                  NO. 1:14-CV-00465-RLV
                Plaintiff,       )
                                 )
v.                               )
                                 )
SPARTA INSURANCE                 )
COMPANY,                         )
                                 )
                Defendant.       )
_________________________________)

               PLAINTIFF’S RESPONSE IN OPPOSITION
             TO MOTION TO ENFORCE APPRAISAL AWARD

TO THE HONORABLE JUDGE OF SAID COURT:

      COMES NOW Plaintiff Eagles Landing Daycare & Learning Center,

(hereinafter “Plaintiff”) and files this, Response in Opposition to Motion to

Enforce Appraisal Award. In support of the same, and for the reason set forth

below, Plaintiff would show this Honorable Court as follows:

                                         I.

      Within the Sparta Insurance Company, (hereinafter “Defendant”) motion to

Enforce Appraisal, sets forth specific case law and governing authority that shows

exactly why the present appraisal determination should be set aside. Specifically, in




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order to challenge an appraisal award, there must be “evidence of fraud,

oppression, irregularity, or unfairness, other than on the disputed issue of value,

and no other circumstances pending to raise the issue....” See Bell vs Liberty Mut.

Fire Ins. Co., 319 Ga. App. 302 (2012). In the present matter, unfairness would

absolutely result if the current appraisal determination was allowed to stand.

                                          II.

      Specifically, prior to appraisal being invoked, Plaintiff had submitted

damages in the amount of $206,000.00, based upon estimates, evaluations

performed by Paramount Claims Solutions. After a follow up inspection by

Defendant, it was conceded that additional damage had occurred, and additional

losses must be paid. Accordingly, a supplemental payment, based upon the

damages claimed by the Plaintiff, was paid in the amount of over $138,000.00. In

fact, nearly $140,000.00 in damage was conceded by Defendant, who paid an

amount over $138,000.00, after applying the deductible associated with this

particular property. However, this shows that there was an absolute agreement

between the parties as to the least an amount of damage based upon the underlying

hail claim that exceed $139,000.00 in this matter.




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                                          III.

      As this Honorable Court is aware, the recent umpire determination in this

matter articulated its belief that there was no damage at all from any hail in this

case. Clearly, this is based upon a mistake, as the parties had all ready agreed that

there was at least an amount of hail damage that was not only covered by the

subject insurance policy, but that was approaching $140,000.00 in value.

Accordingly, and based upon such mistake, it is just as clear that, pursuant to

Georgia case law, that the exact types of unfairness would occur should this

appraisal determination stand, that allows for the same to be set aside.

                                           IV.

      For the forgoing reasons, Plaintiff respectfully requests that Defendant’s

Motion to Enforce be denied, and that a Court Order from this Honorable Court

vacating the present appraisal award, and allowing this matter to continue to trial.



                                       Respectfully submitted,


                                       THE VOSS LAW FIRM, P.C.


                                       /s/ Scott G. Hunziker
                                       _________________________________
                                       Scott G. Hunziker
                                       State Bar No. 24032446
                                       Federal ID No. 38752
                                       Attorney in Charge



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ATTORNEYS FOR PLAINTIFF



                        CERTIFICATE OF SERVICE

       I hereby certify that the foregoing document was served a copy of on March
19, 2015, a true and correct copy of Plaintiff’s Response in Opposition to
Motion to Enforce Appraisal Award upon all counsel of record, by electronic
filing and/or United States mail, postage prepaid, and properly addressed as
follows:

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                                           /s/ Scott G. Hunziker
                                           __________________________
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